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                                              United States Attorney
                                              Northern District of California



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                                               February 5, 2020

Via Email

Martin Sabelli
msabelli@sabellilaw.com

And other counsel

       Re:      United States v. Nelson et al., CR 17-0533 EMC

                    Supplemental Expert Disclosure regarding Jeremy Sheetz

Dear Counsel:

         We write to provide you with additional information regarding the anticipated expert
testimony of Jeremy Scheetz, Intelligence Operations Specialist with the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF), and in response to your discovery letter dated January
10, 2020. To begin with, we believe your request—which demands, for example, the production
of all “investigative facts and evidence written or relied upon by Sheetz”—goes significantly
beyond what Rule 16 requires, and what would be feasible to produce. As you know, “Rule 16(a)
(1)(G) does not require recitation of the chapter and verse of the experts’ opinions, bases and
reasons.” United States v. Cerna, 2010 WL 2347406, at *2 (N.D. Cal. June 8, 2010). In fact,
your request appears to be precisely the type of request that Judge Alsup rejected in Cerna. Id.
(rejecting request for (among other things) “any literature relied upon by” the proposed expert).

       Nonetheless, in order to expedite the resolution of this issue, we provide the following
information to supplement the Government’s prior disclosures regarding Intelligence Operations
Specialist Sheetz—and specifically the bases for his anticipated testimony. Please note that this
supplemental notice is not intended to expand the opinions set out in the November 4, 2019
Preliminary Expert Disclosure.

        As previously set out in Sheetz’s CV, he has, since 2006, worked as either an Intelligence
Research Specialist or Intelligence Operations Specialist with the Bureau of Alcohol, Tobacco,
Firearms, and Explosives (ATF). In those capacities, he has (among other tasks) debriefed active
and potential Outlaw Motorcycle Gang’s (OMG) sources of information; monitored OMG
events, both domestically and internationally; and served as an intelligence asset during short and
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 long-term OMG investigations.

       More particularly, he has assisted with about 1,000 investigations involving OMGs,
motorcycle clubs, and documented supporters of OMGs in the United States, Canada, Asia,
Australia, Europe, and Central and South America. These include the following federal
prosecutions:

      US v. Lahey et al., 10-CR-765 (SDNY) and US v. Ebeling et al., 10-CR-696 (EDNY)

       During this investigation into the Pagan’s Motorcycle Club, Sheetz debriefed confidential
       sources and provided intelligence that contributed to the successful infiltration of the Pagans
       by an ATF undercover special agent. On multiple occasions, he briefed other law enforcement
       officers on the tactical and strategic outlook of the investigation. During the take-down phase,
       he analyzed evidence seized from the Pagans.

      United States v. Bifield et al., 12-CR-430 (DSC)
       During this investigation into the Hell’s Angels, Sheetz analyzed information provided by an
       ATF confidential informant. He also travelled to several Hells Angels events, and provided
       information to the prosecution team about adversarial OMGs.

      US v. Rosga et al., 10-CR-170 (EDVA)
       During this investigation into the Mongols Motorcycle Club and Outlaws Motorcycle Club,
       Sheetz debriefed confidential informants and provided intelligence that led to three ATF
       special agents infiltrating the Mongols and Outlaws. Throughout the investigation, he
       maintained charts, timelines, and other information documenting the course of the
       investigation.

       In addition, Sheetz’s contribution to state investigations has included the following:

      At the request of the Randolph County, North Carolina District Attorney’s Office, Sheetz
       contributed to a homicide investigation involving Hells Angel Michael Russ. Sheetz
       interviewed potential witnesses, reviewed and analyzed Hells Angels indicia seized during
       Russ’s arrest, and briefed the District Attorney’s office on (among other things), the history
       and symbols of the Hells Angels.

      At the request of the Commonwealth Attorney’s Office, Augusta County, Virginia; United
       States Attorney Office, Charlottesville, Virginia; ATF Roanoke, Virginia Field Office; and
       FBI Charlottesville, Virginia Resident Office, Sheetz briefed law enforcement agencies on the
       Hells Angels following the September 2018 Augusta County shooting. In addition, Sheetz
       listened to hours of jail calls and reviewed and analyzed Hells Angels documents that were
       seized during the investigation.




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        During the course of his career, Sheetz has also had the opportunity to review internal Hells
Angels documents, and discuss these documents with confidential sources and other law enforcement
officers. Some examples of the types of documents that Sheetz has reviewed have been previously
produced:

Document                                             Bates Pages
Admission Rules                                      Expert-00000001
HAMC World Rules                                     Expert-00000002 – Expert-00000149
Hells Angels East Coast Officers Meeting             Expert-00000150 – Expert-00000154
Minutes
Hells Angels Europe By Laws                          Expert-00000155 – Expert-00000156
The Definitive History: Evolution of the Hells       Expert-00000157 – Expert-00000173
Angels Motorcycle Club Insignia and
Corporation
Hells Angels Motorcycle Club San Bernardino          Expert-00000174
Ca. Charter Bylaws
HAMC United States Rules – November 9, 2005          Expert-00000175 – Expert-00000176
HAMC World Rules – March 8, 2006                     Expert-00000195 – Expert-00000198
Hells Angels Motorcycle Club World Rules 2012        Expert-00000199 – Expert-00000220
Hells Angels Motorcycle Club – West Coast            Expert-00000221
Hells Angels Motorcycle Club World Rules 2017        Expert-00000222 – Expert-00000253
Left and Out – European Working Group                Expert-00000319 - Expert-00000321
Paperwork to Admission Rules 2009                    Expert-00000322
Paperwork to Constitutional Rules 2009               Expert-00000324
Paperwork to Corporation Rules 2009                  Expert-00000325 – Expert-00000326
Paperwork to Internet Rules 2009                     Expert-00000327
Paperwork to Organisational Rules 2009               Expert-00000328 – Expert-00000332
Paperwork to Prohibitive Rules 2009                  Expert-00000333
Paperwork to Prospect Rules 2009                     Expert-00000334
Paperwork to Riding Rules 2009                       Expert-00000335
Paperwork to Voting Rules 2009                       Expert-00000336
Letter Re: Rules for Joining                         Expert-00000337 – Expert-00000342
Stuttgart Meeting Minutes                            Expert-00000343 – Expert-00000361
Bylaws: Prospects and Prospect Clubs                 Expert-00000362 – Expert-00000363
HAMC World Rules – April 16, 2000                    Expert-00000364
Hells Angels Motorcycle Club World Rules             Expert-00000366 - Expert-00000395

       Sheetz has also reviewed a number of Hells Angels documents seized during the course of this
case. These documents include:




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Document                                             Bates Page
The Prospect/Hangaround Kit                          HA-00042323
Sonoma County – Out of Club                          HA-00045260
Out of Club                                          HADOCS-002772
Rosters                                              HADOCS-002774
Hells Angels Motorcycle Club World Rules 2012        HADOCS-004911 – HADOCS-004951
Hells Angels Rules: Motions for years 2002 -         HADOCS-004965 – HADOCS-005015
2008

       Sheetz has also reviewed expert reports prepared by other law enforcement officers on the
Hells Angels. An example of such a report has been previously produced:

Document                                             Bates Pages
Jorge Gil-Blanco Statement of Opinion: Hells         Expert-00000254 – Expert-00000318
Angels Outlaw Motorcycle Gang



       Please contact me if you have any questions concerning the foregoing.


                                                             Very truly yours,

                                                             DAVID L. ANDERSON
                                                             United States Attorney


                                                             /s/
                                                             AJAY KRISHNAMURTHY
                                                             KEVIN BARRY
                                                             Assistant United States Attorneys




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